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                 United States Court of Appeals
                                  For the First Circuit
                                     _____________________
 No. 20-1581

                        SECURITIES AND EXCHANGE COMMISSION,

                                         Plaintiff - Appellee,

                                                  v.

                   NAVELLIER & ASSOCIATES, INC.; LOUIS NAVELLIER,

                                      Defendants - Appellants.
                                       __________________

                                               Before

                                   Torruella, Kayatta and Barron,
                                           Circuit Judges.
                                       __________________

                                       ORDER OF COURT

                                        Entered: July 1, 2020

         Before the court is "Appellants' Emergency Motion for…Temporary Stay of Enforcement
 of Final Judgment Pending Decision by District Court on Motion for Temporary Stay." That
 motion is allowed insofar as the final judgment of the district court shall be stayed until such time
 as the district court has ruled on the motion for a stay of enforcement of the judgment pending
 before it. By this order, we express no view as to the merits of the pending motion, or as to any
 element of the proceedings below.

        So ordered.


                                                        By the Court:

                                                        Maria R. Hamilton, Clerk
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                                                                        2 6349791



 cc:
 Hon. Denise Jefferson Casper
 Robert Farrell, Clerk, United States District Court for the District of Massachusetts
 Steven Joel Brooks
 Samuel Kornhauser
 Jennifer A. Cardello
 Robert Bradley Baker
 Donald Campbell Lockhart
 William J. Donahue
 Paul Gerard Alvarez
 Marc Jonathan Jones
 Rachel McKenzie
